            Case 2:15-cr-00127-RFB          Document 65        Filed 11/13/15      Page 1 of 4




 1   DANIEL G. BOGDEN
     United States Attorney
 2   District of Nevada
     KATHRYN C. NEWMAN
     KIMBERLY M. FRAYN
 3   Assistant United States Attorneys
     333 Las Vegas Boulevard South
 4   Suite 5000
     Las Vegas, Nevada 89101
 5   702-388-6336
     Fax: 702-388-5087
 6

 7
                       UNITED STATES DISTRICT COURT
 8                          DISTRICT OF NEVADA
                                                  -oOo-
 9

10 UNITED STATES OF AMERICA,                      ) Case No.: 2:15-cr-127-RFB
                                                  )
11                 Plaintiff,                     ) STIPULATION FOR PROTECTIVE ORDER
                                                  )
                                                  )
12         vs.                                    )
                                                  )
13 ANDREW HANZELIC,                               )
                                                  )
14                 Defendant.                     )
                                                  )
15                                                )

16

17          IT IS HEREBY STIPULATED AND AGREED between the parties, Daniel G. Bogden,
18   United States Attorney for the District of Nevada, and Kathryn C. Newman and Kimberly M.
19   Frayn, Assistant United States Attorneys, and Defendant Andrew Hanzelic, and his counsel,
20   Rene Valladares, Federal Public Defender for the District of Nevada, and Brian Pugh, Assistant
21   Federal Public Defender, that this Court issue an Order protecting from disclosure to the public
22   any discovery documents containing the personal identifying information such as social security
23   numbers, drivers license numbers, dates of birth, or addresses of participants, witnesses and
24
             Case 2:15-cr-00127-RFB           Document 65         Filed 11/13/15      Page 2 of 4




 1   victims in this case. Such documents shall be referred to hereinafter as “Protected Documents.”

 2   The parties state as follows:

 3          1.      Protected Documents which will be used by the government in its case in chief

 4   include personal identifiers, including social security numbers, dates of birth, and addresses of

 5   participants, witnesses and victims in this case.

 6          2.      Discovery in this case will exceed 10,000 pages. Given the nature of the

 7   allegations and the facts and circumstances surrounding the crimes with which the defendants

 8   are charged, that is, the defendants assumed the identities of hundreds of persons other than

 9   themselves in order to fraudulently file tax returns and collect refunds, many of the documents

10   in the discovery necessarily include personal identifiers. Redacting the personal identifiers of

11   participants, witnesses, and victims would prevent the timely disclosure of discovery to the

12   defendants.

13          3.      The United States agrees to provide Protected Documents without redacting the

14   personal identifiers of participants, witnesses, and victims.

15          4.      Access to Protected Documents will be restricted to persons authorized

16   (authorized person) by the Court, namely the defendant, attorney(s) of record and attorneys’

17   paralegals, investigators, experts, secretaries, file clerks, law clerks, contractors, vendors, IT

18   Department, and copy centers employed by the attorney(s) of record or performing on behalf of

19   defendant.

20          5.      The following restrictions will be placed on defendant, defendant’s attorney(s)

21   and the above-designated individuals unless and until further ordered by the Court. Defendants,

22   defendants’ attorneys and the above-designated individuals shall not:

23                  a.      make copies for or allow copies of any kind to be made by any other

24   person of the Protected Documents;

                                                    2
             Case 2:15-cr-00127-RFB              Document 65       Filed 11/13/15    Page 3 of 4




 1                   b.          allow any other person to read the Protected Documents; and

 2                   c.          use the Protected Documents for any other purpose other than preparing

 3   to defend against the charges in the Indictment or any further superseding indictment arising out

 4   of this case.

 5           6.      Defendant’s attorneys shall inform any person to whom disclosure may be made

 6   pursuant to this Order of the existence and terms of this Court’s Order.

 7           7.      The requested restrictions shall not restrict the use or introduction as evidence of

 8   discovery documents containing personal identifying information such as social security

 9   numbers, drivers’ license numbers, dates of birth, and addresses during the triaql of this matter.

10           8.      Upon conclusion of this action, defense counsel shall return to government

11   counsel or destroy and certify to government counsel the destruction of all discovery documents

12   containing personal identifying information such as social security numbers, drivers’ license

13   numbers, dates of birth, and addresses within a reasonable time, not to exceed thirty-days after

14   the last appeal is final.

15

16

17
     DANIEL G. BOGDEN
18   United States Attorney

19   /s/ Kathryn C. Newman                                           11/10/15________________
     KATHRYN NEWMAN                                                  DATE
20   Assistant United States Attorney

21
     _/s/ Brian Pugh_____________________                            11/10/15____________________
22   BRIAN PUGH                                                      DATE
     Assistant Federal Public Defender
23   Counsel for Andrew Hanzelic

24

                                                      3
     Case 2:15-cr-00127-RFB     Document 65     Filed 11/13/15   Page 4 of 4




 1                                   ORDER

 2   IT IS SO ORDERED this WK day of 1RYHPEHU, 2015.

 3

 4
                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                              BBBBBBBBBBBBBBBBBBBB
 5                                       5,&+$5')%28/:$5(,,
                                              $5' ) %28/:$5( ,,
                                         81,7('67$7(6',675,&7-8'*(
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

                                     4
